                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

STATE OF ILLINOIS,                                 )
                                                   )
                       Plaintiff,                  )      Case No. 17-cv-6260
                                                   )
       v.                                          )      Judge Robert M. Dow, Jr.
                                                   )
CITY OF CHICAGO,                                   )
                                                   )
                       Defendant.                  )

                                           ORDER

       Pursuant to paragraphs 613-615 of the consent decree [703], the Court appoints Ms.

Maggie Hickey to serve as the independent monitor. The Court also intends to appoint Hon. David

H. Coar (ret.) to serve as a Special Master pursuant to Federal Rule of Civil Procedure 53. An

order effectuating that appointment in compliance with Rule 53(b) will be issued no later than

April 1, 2019.




Dated: March 1, 2019                                      ____________________________
                                                          Robert M. Dow, Jr.
                                                          United States District Judge
